 8:14-cr-00026-LSC-FG3             Doc # 25   Filed: 04/10/14   Page 1 of 1 - Page ID # 56




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                8:14CR26
                                                )
       vs.                                      )
                                                )
LEWIS PHOENIX,                                  )                 ORDER
                                                )
                      Defendant.                )


      This matter is before the court on the Unopposed Motion to Continue Trial [24].
Counsel needs additional time to explore plea negotiations. The defendant has complied
with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the motion to continue trial [24] is granted, as follows:

       1.    The jury trial now set for April 15, 2014 is continued to June 24, 2014.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and June 24, 2014, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel the reasonable time necessary for
effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §
3161(h)(7)(A) & (B)(iv).

       DATED April 10, 2014.

                                              BY THE COURT:

                                              s/ F.A. Gossett, III
                                              United States Magistrate Judge
